         Case 1:18-cv-02789-CRC Document 103 Filed 04/27/23 Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


JABARI STAFFORD,

                        Plaintiff,

v.                                                    Case No. 1:18-cv-02789-CRC
THE GEORGE WASHINGTON
UNIVERSITY, et al.,

                        Defendants.


JOINT MOTION TO UNSEAL PORTIONS OF SUMMARY-JUDGMENT RECORD AND
        REQUEST FOR ORDER REGARDING SEALING OF EXHIBIT 7

        Plaintiff Jabari Stafford and Defendant the George Washington University (the

“University”) (collectively, the “Parties”), jointly submit this Motion to Unseal Portions of the

Summary-Judgment Record and Request for Order Regarding Sealing of Exhibit 7. In support of

thereof, the Parties state as follows:

Motion to Unseal Portions of Summary-Judgment Record

        1.      In connection with summary-judgment briefing, the Parties filed entirely under seal

a total of 14 exhibits (the “Sealed Exhibits”). See Dkt. 79; Dkt. 84.

        2.      This Court granted the Parties’ respective motions to seal these exhibits under the

Protective Order. See May 25, 2021 Minute Order (granting University’s motion to seal); Jan. 4,

2022 Minute Order (granting Plaintiff’s motion to seal).

        3.      The Sealed Exhibits remained sealed during Plaintiff’s appeal to the D.C. Circuit

and, together, comprised Joint Appendix Volumes 3 and 4.

        4.      On January 31, 2023, the D.C. Circuit directed the Parties to show cause why the

sealed portions of the record before the D.C. Circuit (i.e., Joint Appendix Volumes 3 and 4) should




                                                -1-
           Case 1:18-cv-02789-CRC Document 103 Filed 04/27/23 Page 2 of 8




not be unsealed.

          5.     On March 2, the Parties jointly responded to the D.C. Circuit’s show-cause order,

noting that under D.C. Circuit Rule 47.1(a), the portions of the record in the sealed joint appendix

should not be unsealed by the D.C. Circuit unless and until they were first unsealed by this Court.

          6.     The Parties have met and conferred regarding whether each of the Sealed Exhibits

should remain entirely under seal—and, if not, what portion(s), if any, should remain sealed—and

are in agreement regarding 13 of the 14 Sealed Exhibits.

          7.     For the final, fourteenth Sealed Exhibit (Exhibit 7), the Parties agree that portions

of that exhibit can be unsealed; however, they disagree regarding other portions. See infra ¶¶ 10–

12.

          8.     The Parties respectfully request that the following Sealed Exhibits be unsealed,

either in their entirety or partially, as set forth below:

Exhibits The Parties Agree Should Be Partially Unsealed

    Exhibit
                   Description                   Grounds for Sealing of Designated Portions1
      No.
    2       Transcript of Deposition      The Parties agree the following information should remain
            of J. Stafford, dated Oct.    redacted on the public docket: (1) personal telephone
            28, 2019                      numbers and email addresses; (2) Plaintiff’s medical
                                          information; and (3) the names and other personally
                                          identifying information of students (a) filing confidential
                                          complaints/reports with the University, or (b) accused of
                                          wrongdoing in any such complaints/reports. That
                                          information constitutes confidential personal information
                                          under the Protective Order and has been highlighted in gray
                                          in the version of the Exhibit being submitted at Dkt. 104.

                                          The Parties agree that the remainder of the deposition
                                          transcript may be unsealed.



1
    At Dkt. 104, the Parties are filing under seal the Sealed Exhibits that they agree should be
    partially unsealed, with gray highlighting to indicate the designated portions of the Sealed
    Exhibits that the Parties agree should remain under seal/be redacted on the public docket.



                                                   -2-
       Case 1:18-cv-02789-CRC Document 103 Filed 04/27/23 Page 3 of 8




Exhibit
               Description               Grounds for Sealing of Designated Portions1
  No.
6       Transcript of Deposition The Parties agree the following information should remain
        of T. Stafford, dated Oct. redacted on the public docket: (1) personal telephone
        29, 2019                   numbers and email addresses; and (2) Plaintiff’s medical
                                   information. That information constitutes confidential
                                   personal information under the Protective Order and has
                                   been highlighted in gray in the version of the Exhibit being
                                   submitted at Dkt. 104.

                                     The Parties agree that the remainder of the deposition
                                     transcript may be unsealed.
7         Transcript of deposition   The Parties agree the following information should remain
          of N. Early, dated Jan.    redacted on the public docket: (1) information related to
          10, 2020                   non-parties’ academic or disciplinary histories that are not
                                     material to this case; and (2) the names and other personally
                                     identifying information of students (a) filing confidential
                                     complaints/reports with the University, or (b) accused of
                                     wrongdoing in any such complaints/reports. That
                                     information constitutes confidential personal information
                                     and/or confidential student information under the Protective
                                     Order and has been highlighted in gray in the version of the
                                     Exhibit being submitted at Dkt. 104.

                                    The Parties disagree regarding the appropriate treatment of
                                    Page 147, Line 22 through Page 151, Line 4 of this
                                    transcript, and have set forth their disagreement below. See
                                    infra ¶¶ 10–12.
12        Excerpts from Plaintiff’s The Parties agree that personal telephone numbers should
          Text Message Log          remain redacted on the public docket because they
                                    constitute confidential personal information under the
                                    Protective Order. This information has been highlighted in
                                    gray in the version of the Exhibit being submitted at Dkt.
                                    104.

                                     The Parties agree that the remainder of the exhibit may be
                                     unsealed.
20        Defendant’s                The Parties agree that the name of a student who made a
          Responses and              confidential complaint to the University constitutes
          Objections to              confidential personal information under the Protective
          Plaintiff’s First Set      Order and should remain redacted on the public docket.
          of Interrogatories         This name been highlighted in gray in the version of the
                                     Exhibit being submitted at Dkt. 104.

                                     The Parties agree that the remainder of the exhibit may be
                                     unsealed.




                                             -3-
       Case 1:18-cv-02789-CRC Document 103 Filed 04/27/23 Page 4 of 8




Exhibit
              Description                 Grounds for Sealing of Designated Portions1
  No.
30      Transcript of Deposition    The Parties agree the following information should remain
        of D. Stafford, dated       redacted on the public docket: (1) personal telephone
        Nov. 8, 2019                numbers and email addresses; and (2) Plaintiff’s medical
                                    information. This information constitutes confidential
                                    personal information under the Protective Order and has
                                    been highlighted in gray in the version of the Exhibit being
                                    submitted at Dkt. 104.

                                    The Parties agree that the remainder of the deposition
                                    transcript may be unsealed.
34       Transcript of Deposition   The Parties agree that personal telephone numbers should
         of M. Tapscott, dated      remain redacted on the public docket because they
         Feb. 25, 2020              constitute confidential personal information under the
                                    Protective Order. This information has been highlighted in
                                    gray in the version of the Exhibit being submitted at Dkt.
                                    104.

                                    The Parties agree that the remainder of the deposition
                                    transcript may be unsealed.
A        Transcript of Deposition   The Parties agree the following information should remain
         of B. Morton, dated        redacted on the public docket: (1) personal telephone
         Dec. 20, 2019              numbers, email addresses, home addresses, and dates of
                                    birth; (2) information related to non-parties’ academic
                                    histories; and (3) medical information related to the
                                    deponent. This information constitutes confidential
                                    personal information and/or confidential student
                                    information under the Protective Order and has been
                                    highlighted in gray in the version of the Exhibit being
                                    submitted at Dkt. 104.

                                    The Parties agree that the remainder of the deposition
                                    transcript may be unsealed.




                                            -4-
           Case 1:18-cv-02789-CRC Document 103 Filed 04/27/23 Page 5 of 8




    Exhibit
                 Description                   Grounds for Sealing of Designated Portions1
      No.
    P       Compilation of              The Parties agree the following information should remain
            University Police           redacted on the public docket: the names and other
            Reports and Related         personally identifying information of students (a) filing
            Documents                   complaints/reports, or (b) accused of wrongdoing in such
                                        complaints/reports. This information constitutes
                                        confidential personal information under the Protective
                                        Order and has been highlighted in gray in the version of the
                                        Exhibit being submitted at Dkt. 104.

                                        The Parties agree that the remainder of the exhibit may be
                                        unsealed.

Exhibits The Parties Agree Should Be Entirely Unsealed2

    Exhibit No.                                  Description
    16          E-mail from N. Early to G. Munoz, et al., dated Jan. 19, 2015
                (GWU_00002081_Reproduced)

    35            E-mail from G. Munoz to Plaintiff, et al., dated Dec. 20, 2014
                  (GWU_00000850_Reproduced)

    61            E-mail from J. Arguello to Plaintiff, dated Dec. 8, 2017
                  (GWU_00002369_Reproduced)


          9.     For the foregoing reasons, the Parties respectfully request that the Court unseal

Exhibits 16, 35, and 61 in their entirety; and that the Court unseal Exhibits 2, 6, 7, 12, 20, 30, 34,

A, and P, except for the portions of those Exhibits highlighted in gray in the versions being

submitted at Dkt. 104. If and when the Court grants the Parties’ unsealing request, the Parties will

file on the public docket (1) unredacted copies of Exhibits 16, 35, and 61; and (2) revised versions

of Exhibits 2, 6, 7, 12, 20, 30, 34, A, and P, in which only the information highlighted in gray shall

be redacted.




2
    The Parties agree that the exhibits in this chart should be unsealed in their entirety, and that
    material that the University previously redacted as protected under FERPA should remain
    redacted.



                                                 -5-
         Case 1:18-cv-02789-CRC Document 103 Filed 04/27/23 Page 6 of 8




Request for Order Regarding Sealing of Exhibit 7

       10.     As detailed above, the Parties disagree regarding whether one excerpt of Exhibit 7

to the University’s Motion for Summary Judgment (the “Excerpt”) should remain sealed.

       11.     The Excerpt spans Page 147, Line 22 through Page 151, Line 4 of the transcript of

the deposition of former University Associate Athletics Director Nicole Early.

       12.     Below, the Parties set forth their respective positions regarding whether the Excerpt

should remain sealed.

Plaintiff’s Position: The Excerpt consists of testimony by a University official that an individual
was arrested and the official’s suspicions and rumors about whether the person arrested had a
problem with alcohol. As an initial matter, the arrest is not confidential as it is a matter of public
record. Second, rumors and a person’s suspicions about someone else hardly constitute
“confidential personal information” as intended by the Protective Order in this matter or as
intended by Federal Rule of Civil Procedure 26(c). If that were the case, every opinion expressed
by a witness would be subject to a protective order. Third, the information is relevant to the case
in that the individual is a central figure in the harassment and discrimination endured by Plaintiff
and Plaintiff reported to the University official that this individual caused and permitted the
harassment and discrimination. Therefore, the suspicions a University official had about the
individual’s behavior is relevant to the reports of harassment and discrimination the University
official received about the individual. Lastly, under the Protective Order, Plaintiff has not waived
his objection to this designation as any party “may challenge a designation of confidentiality at
any time.” See Dkt. 38 at ¶ 6.1.

The University’s Position: The Excerpt should remain sealed. The Excerpt contains a University
official’s discussion of confidential personnel information and confidential personal information
regarding a former University tennis coach. The University contemporaneously designated the
Excerpt as confidential pursuant to the Protective Order, and Plaintiff did not object. The tennis
coach at issue is a third party to this litigation, and the information discussed in the Excerpt is not
relevant to this case or the public’s understanding thereof. The information therefore should
remain sealed.        See Amgen Inc. v. Amneal Pharms. LLC, Civ No. 16-853-MSG
CONSOLIDATED, 2021 WL 4133516, at *6 (D. Del. Sept. 10, 2021) (“Employees who are either
non-parties or not relevant to the dispute have privacy interests that outweigh the public’s right to
their name[.]”), vacated in part on reconsideration on other grounds by Amgen Inc. v. Amneal
Pharms. LLC, 2021 WL 4843959 (Oct. 18, 2021); Briggs v. Marriott Int’l, Inc., 368 F. Supp. 2d
461, 463 n.1 (D. Md. 2005) (granting motion to seal documents including “personal and medical
information”).




                                                 -6-
         Case 1:18-cv-02789-CRC Document 103 Filed 04/27/23 Page 7 of 8




       13.     The Parties respectfully request that the Court clarify whether the Excerpt can

remain sealed or should be unsealed; thereafter, the Parties will submit an appropriately-redacted

version of Exhibit 7.


       Dated: April 27, 2023                     Respectfully submitted,



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                                               -7-
        Case 1:18-cv-02789-CRC Document 103 Filed 04/27/23 Page 8 of 8




                               CERTIFICATE OF SERVICE

       I hereby certify that on April 27, 2023, I electronically filed the foregoing document with

the Clerk of the Court using the ECF system, which will send notification of such filing to all

counsel of record.

                                                                   /s/ Jason C. Schwartz




                                               -8-
